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                           IN THE UNITED STATES DISTRICT COURT
                          FOR THE SOUTHERN DISTRICT OF FLORIDA

                          Case No. 21-CR-60020-DIMITROULEAS/SNOW

       UNITED STATES OF AMERICA

       v.

       JONATHAN MARKOVICH and
       DANIEL MARKOVICH,

                            Defendants


                                    [REDACTED]
                    UNITED STATES’ MOTION FOR AUTHORIZATION TO
                    RELEASE MATERIALS TO THE PROSECUTION TEAM

            The United States of America, by and through its assigned Filter Team, 1 respectfully files

   this Motion for Authorization to Release Materials to the Prosecution Team. Specifically, the Filter

   Team seeks authorization to release to the Prosecution Team the FBI FD-302 report of interview

   of a testifying witness that the Prosecution Team intends to call at trial of this case. 2 The Filter

   Team respectfully submits that the FD-302 report (“Report”) and subject matters of the interview

   to which the Report relates, do not contain privileged information. However, after conferring with

   the defense, counsel for the Defendants indicated that, in their view, the entire Report (and the




   1
     DOJ Assistant Chief John Kosmidis and Trial Attorney Joanna Bowman serve as Filter Team
   attorneys in this case. The Filter Team attorneys are assigned to the U.S. Department of Justice,
   Criminal Division, Fraud Section’s Special Matters Unit and have a separate reporting and
   supervisory chain from the Prosecution Team in this case. Further, the Filter Team attorneys are
   supported by paralegals and other professional staff who are not part of the Prosecution Team. The
   Filter Team attorneys and their supporting staff only conduct the filter review and are not involved
   in the investigation or proceedings related to the above-captioned matter.
   2
    A redacted motion is being filed on the public docket; the unredacted motion and certain exhibits
   will be provided to the Court under seal along with a motion to seal and will be served upon counsel
   for the Defendants.
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   information elicited during the related interview) should be considered to be privileged and thus

   off-limits to the Prosecution Team. Since the Report and the subject matters referenced may be

   relevant to the expected trial testimony of the witness, the Filter Team respectfully requests that

   the Court rule on this matter on an expedited basis.

            Finally, even though the Defendants asserted only a blanket claim of privilege over the

   entire Report and did not discuss or assert privilege with specificity as to the various subject

   matters addressed in the Report that would support a prima facie privilege claim, the Filter Team

   has, in an abundance of caution, proposed that two sentences from the Report be redacted before

   it is released to the Prosecution Team. The Filter Team has thus filed a copy of the Report,

   indicating its proposed redactions, under seal — along with an unredacted version of this

   memorandum. See Ex. A (unredacted motion) and Ex. B (proposed redacted FBI 302 Report). The

   Filter Team respectfully requests that the Court order the Report be produced to the Prosecution

   Team with the redactions as proposed.

       I.      Facts

               a. Background.

            Defendants Jonathan and Daniel Markovich (brothers), along with eight co-defendants,

   including Christopher Garnto, were charged via complaint in September 2020 in connection with

   a sober home fraud scheme involving sober homes that they owned and operated, including

   Compass Detox (Compass) and We Are Recovery (WAR). DE 1. The Defendants, Garnto, and

   five co-defendants were subsequently indicted in January 2021. DE 110. Garnto pleaded guilty in

   July 2021. DE 245. He is expected to testify at trial against the Defendants, which is scheduled to

   begin on September 13, 2021. DE 278.




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                b. The Filter Team Interviewed Garnto.

           The Prosecution Team was mindful that a joint-defense agreement may have existed

   between the Defendants and Garnto prior to Garnto retaining his current counsel in April 2021.

   Accordingly, on August 30, 2021, the Prosecution Team requested that a Filter Team conduct an

   interview of Garnto on a limited topic, namely the dates and circumstances of Garnto’s interactions

   with the Defendants vis à vis Garnto’s fiancé’s employment at the Defendants’ sober homes. The

   Prosecution Team instructed the Filter Team not to inquire into any legal strategy or defense

   discussions between Garnto and the Defendants and to also direct Garnto not to disclose any

   privileged communications or any legal advice that Garnto and the Defendants may have

   discussed.

           On September 2, 2021, the Filter Team (the Filter Team trial attorney along with a filter

   FBI agent, not part of the Prosecution Team) conducted a telephonic interview of Garnto regarding

   Garnto’s interactions with the Defendants with respect to his fiancé’s employment at the sober

   homes. Ex. C (Garnto FBI 302 at 1). Garnto’s counsel was also present. Garnto FBI 302 at 1. At

   the beginning of the interview, the Filter Team trial attorney advised Garnto not to share any

   attorney-client privileged information. Garnto FBI 302 at 1.

           During the interview, Garnto stated




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                                                                                 .


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               c. The Filter Team Provided Defendants with the Opportunity to Review the
                  Garnto FBI 302.

           On September 7, 2021, the Filter Team sent via email the September 2, 2021 Garnto FBI

   302 to counsel for the Defendants to give the Defendants the opportunity to assert any privileges

   or protections over content in the Report. See Ex. D. The Filter Team noted that it had not provided

   the Garnto 302 to the Prosecution Team and requested that the Defendants provide the basis for

   their privilege assertions. See Ex. D.

           In response, counsel for Daniel Markovich stated, in part:

           My client will assert a privilege. Any conversations prior to April 2021 would have
           been part of a JDA. Several weeks ago, the defense team informed AUSA DeBoer
           and AUSA Hayes in writing and over the telephone about the existence of the JDA.

           We anticipated that the government would stop inquiring into JDA topics. Given
           that the government had knowledge of the existence of the JDA, it is shocking that
           the government proceeded with the interview on September 2, 2021 and proceeded
           to inquire as to privileged topics.

   See Ex. E. Counsel for Defendant Jonathan Markovich “echo[ed]” those “comments and

   Objections,” and further stated: “We assert all privileges regarding Jonathan Markovich and stand

   by the JDA.” See Ex. F.

               d. The Filter Team Recommends Redacting Two Lines in the Report.

           Out of abundance of caution, the Filter Team recommends redacting the following lines

   from the released Report in order to protect any potential privilege the Defendants may assert over

   this material




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       II.      Argument

             The United States respectfully requests that the Court authorize the Filter Team to release

   the Garnto FBI 302 in redacted form (Ex. B) to the Prosecution Team because none of the content

   in the redacted Report constitutes potentially privileged or protected communications.

             As an initial matter, the Filter Team — not the Prosecution Team — interviewed Garnto,

   and the Filter Team has not released this Report to the Prosecution Team. Rather, the Filter Team

   first provided the Report directly to the Defendants for the opportunity to assert privilege, see Ex.

   D, and is now providing the material to the Court for an order authorizing release of the material.

   See In re Sealed Search Warrant & Application for a Warrant by Tel. or Other Reliable Elec.

   Means, No. 20-14223, -- F.4th ---, 2021 WL 3852229, at *10 (11th Cir. Aug. 30, 2021) (describing

   a filter protocol as “suffic[ing] under the law” where the process allows the potential privilege

   holders to conduct an initial filter review and then either requires the privilege holder’s permission

   or a court order before any potentially privileged documents be released to the investigation team.).

   That is exactly the process employed here. Indeed, where the material is in the government

   possession (as was here), “the use of a filter team to review them is ‘respectful of, rather than

   injurious to, the protection of privilege.’” Id. (internal citation omitted). In addition, the Filter

   Team cautioned Garnto not to disclose any privileged information, tailored its questions to focus

   on the circumstances surrounding the fiancé’s employment at the sober homes, and did not seek

   to obtain any potentially privileged material that may be protected by a joint defense agreement.




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           Second, the Defendants’ blanket assertion of privilege over “any conversations prior to

   April 2021” is insufficient under the law. See Ex. E; Ex. F; see United States v. Davis, 36 F.2d

   1028, 1044 n. 20 (5th Cir. Unit A 1981) (“Blanket assertions of privilege before a district court are

   usually unacceptable.”). Rather, parties must assert privilege with specificity, which the

   Defendants failed to do. See Diamond Resorts U.S. Collection Dev., LLC v. US Consumer Att’ys,

   P.A., No. 9:18-CV-80311, -- F.Supp.3d ---, 2021 WL 505122, at *5 (S.D. Fla. Feb. 11, 2021) (“The

   party asserting the privilege ‘must demonstrate that each essential element of the privilege is

   present with respect to the specific communication or document whose disclosure is sought.’”)

   (internal citation omitted). “‘That burden is not, of course, discharged by mere conclusory or ipse

   dixit assertions,” — as the Defendants attempted to do here — “for any such rule would foreclose

   meaningful inquiry into the existence of the relationship, and any spurious claims could never be

   exposed.’” Id. (quoting In re Bonanno, 344 F.2d 830, 833 (2d Cir. 1965)). In particular, it is unclear

   what in the Report the Defendants contend is privileged. See id. (“The Court should not have to

   guess or speculate about the applicability of the privilege, for the party asserting it has the

   affirmative duty to demonstrate that it applies to each document or communication sought to be

   disclosed.”) (internal quotations and citations omitted).

           Moreover, no content in the Report (except for two possible lines, which the Filter Team

   proposes redacting out of caution) appears to be a protected privileged communication under any

   asserted joint defense agreement. “The attorney-client privilege attaches only to communications

   made in confidence to an attorney by that attorney’s client for the purposes of securing legal advice

   or assistance.” In re Grand Jury Investigation (Schroeder), 842 F.2d 1223, 1224 (11th Cir. 1987).

   As an extension of the attorney-client privilege, the Eleventh Circuit also recognizes a joint defense

   privilege, which “protect[s] the confidentiality of communications passing from one party to the




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   attorney for another party where a joint defense effort or strategy has been decided upon and

   undertaken by parties and their respective counsel.” United States v. Almeida, 341 F.3d 1318, 1324

   (11th Cir. 2003). In addition, as the Court has recently expressed, the “proponent of the joint

   defense/common interest privilege must establish that, when communications were shared among

   individuals with common legal interests, the act of sharing was part of an ongoing common legal

   enterprise.” United States v. Hernandez Frieri, No. 18-20685-CR, 2021 WL 3772376, at *3 (S.D.

   Fla. Aug. 25, 2021) (internal quotations and citation omitted). Further, “[i]n order for a

   communication to fall within the protections of the common interest privilege, it must be shared

   with the attorney of the member of the common interest agreement.” United States v. Patel, 509

   F.Supp.3d 1334, 1341 (S.D. Fla. 2020).

           Here,




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           Conclusion

           In sum, the Government respectfully requests that the Court grant its motion and authorize

   the Filter Team to release the redacted Report (Ex. B) to the Prosecution Team because none of

   the material in the redacted Report constitutes a protected or privileged communication, and the

   Defendants have not asserted with the requisite level of specificity that any of the material is so

   protected.

   Dated: September 9, 2021                        Respectfully submitted,
                                                   JUAN ANTONIO GONZALEZ
                                                   ACTING UNITED STATES ATTORNEY
                                                   SOUTHERN DISTRICT OF FLORIDA

                                                   JOSEPH BEEMSTERBOER,
                                                   ACTING CHIEF, FRAUD SECTION
                                                   CRIMINAL DIVISION
                                                   U.S. DEPARTMENT OF JUSTICE

                                                   By:      /s/ John F. Kosmidis
                                                            Assistant Chief
                                                            Court No. A5502660
                                                            Special Matters Unit
                                                            Fraud Section, Criminal Division
                                                            United States Department of Justice
                                                            1400 New York Avenue, N.W.
                                                            Washington, D.C. 20005
                                                            Cell: (202) 641-3109
                                                            Tel: (202) 353-9871
                                                            john.kosmidis@usdoj.gov

                                                            /s/ Joanna K. W. Bowman
                                                            JOANNA K. W. BOWMAN
                                                            Trial Attorney
                                                            Special Matters Unit
                                                            Fraud Section, Criminal Division
                                                            United States Department of Justice
                                                            1400 New York Avenue, N.W.
                                                            Washington, DC 20005
                                                            Office: (202) 307-1462
                                                            Cell: (202) 506-0415
                                                            Joanna.Bowman@usdoj.gov



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                                   CERTIFICATE OF CONFERRAL
           I HEREBY CERTIFY that the Government, via its Filter Team, and counsel for Defendant

   Jonathan Markovich and counsel for Defendant Daniel Markovich conferred on the instant motion

   and they oppose the Government’s motion.

                                                   By:     /s/ John F. Kosmidis
                                                           John F. Kosmidis




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                                     CERTIFICATE OF SERVICE
           I HEREBY CERTIFY that on September 9, 2021, I caused the foregoing to be filed with

   the Clerk of the Court via the court’s electronic filing system CM/ECF.

           I HEREBY CERTIFY that on September 9, 2021, I served the foregoing on counsel for

   Defendant Jonathan Markovich and counsel for Defendant Daniel Markovich via the court’s

   electronic filing system CM/ECF.



                                                   By:     / s/ John F. Kosmidis
                                                           John F. Kosmidis




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